                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

Atlanta Plumbers and Steamfitters
Health and Welfare Fund, Atlanta
Plumbers and Steamfitters Retiree
Health and Welfare Fund, Atlanta
Plumbers and Steamfitters Pension
Fund, Plumbers and Steamfitters
Local 72 Defined Contribution Fund,
and Terry Newsome, Jr. and Jon
Sterling, as Trustees of said Funds,

                 Plaintiffs,

        vs.                                      Case No.: 1:21-cv-03263-ELR

Metropolitan Mechanical, Inc.,

                 Defendant.


                        Memorandum of Law in Support of
                 Plaintiff’s Motion for Entry of Default Judgment

        Pursuant to Fed. R. Civ. P. 55(b), Plaintiffs Atlanta Plumbers and Steamfitters

Health and Welfare Fund, Atlanta Plumbers and Steamfitters Retiree Health and

Welfare Fund, Atlanta Plumbers and Steamfitters Pension Fund, Plumbers and

Steamfitters Local 72 Defined Contribution Fund (collectively, “Funds”), and Terry

Newsome, Jr. and Jon Sterling, as Trustees of the Funds (“Trustees” and, together

with the Funds, “Plaintiffs”) respectfully request that the Court enter a default

judgment against Defendant Metropolitan Mechanical, Inc. (“Defendant”). Default

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judgment is appropriate because Defendant failed to answer or otherwise respond

to Plaintiffs’ Complaint, and the damages Plaintiffs seek are liquidated.

                                        Facts

        The Funds are employee benefit plans within the meaning of Section 3(3)

of the Employee Retirement Income Security Act of 1974, as amended, 29 U.S.C.

§ 1002(3) (“ERISA”). (Compl. [Doc. 1] ¶ 1.) The Trustees exercise discretionary

authority and control with respect to the management and disposition of the

assets of each of the Funds.        (Id. at ¶ 2.)    Accordingly, the trustees are

“fiduciaries” of their respective Funds within the meaning of ERISA § 3(21), 29

U.S.C. § 1002(21). (Id.) The Trustees brought this suit on behalf of the Funds and

on behalf of the Funds’ participants and beneficiaries, and not in any individual

capacity. (Id. ¶ 3.) Additionally, Defendant was at all times relevant hereto an

“employer” within the meaning of ERISA § 3(5), 29 U.S.C. § 1002(5), and the

National Labor Relations Act § 2(2), 29 U.S.C. § 152(2). (Id. ¶ 5.)

        Pursuant to the collective bargaining agreement between the United

Association of Journeymen and Apprentices of the Plumbing and Pipe Fitting

Industry of the United States and Canada, Local Union No. 72, of Atlanta,

Georgia and the Mechanical Contractors Association of Georgia, Inc.

(“Agreement”), to which Defendant assented, Defendant is liable to each of the

Funds for fringe benefit contributions (“Contributions”) due and owing each of
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them based on the number of hours worked by members of the Funds. (Compl.

¶ 9; Declaration of Nicole Firestone (“Firestone Decl.”) ¶ 3 and Ex. 1 thereto.)

Defendant is required to submit payment of all Contributions due and owing for

any given month during the following month. (Compl. ¶ 10; Firestone Decl. ¶ 4.)

        Periodically, the Funds are entitled and bound as fiduciaries to conduct an

audit of an employer’s records to confirm that the employer has paid the correct

amount of Contributions due and owing. (Compl. ¶ 11; Firestone Decl. ¶ 5.)

Following an audit of Defendant’s records, the Funds determined that, for the

period from February 1, 2019, through December 31, 2019, Defendant underpaid its

Contributions, resulting in a principal amount owed of $75,742.66. (Compl. ¶ 12;

Firestone Decl. ¶¶ 7-9 and Ex. 2 thereto.) In addition, as provided in provided in 29

U.S.C. § 1132(g)(2)(C), Defendant is obligated to pay statutory liquidated damages

for the months of February 2019 through December 2019. (Compl. ¶ 13; Firestone

Decl. ¶ 10.) For the months of February 2019 through December 2019, statutory

liquidated damages in the amount of $7,574.27 have accrued. (Compl. ¶ 14;

Firestone Decl. ¶ 13 and Ex. 2 thereto.) Plaintiffs have demanded that Defendant

remit the $83,316.93 total past due amount for Contributions and liquidated

damages, but Defendant has refused to do so, thereby defaulting on its obligations.

(Compl. ¶ 15; Firestone Decl., ¶ 14 and Ex. 2 thereto.)



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        Defendant has defaulted on its obligation by failing to pay the past due

Contributions and statutory liquidated damages owed to the Funds for the

period from February 1, 2019, through December 31, 2019. (Compl. ¶¶ 11-15.) As

of the date of this motion, Defendant owes Contributions to the Funds in the

amount of $75,742.66. (Id. ¶ 12; Firestone Decl. ¶¶ 7, 9 and Ex. 2 thereto.)

Pursuant to the Agreement, the trustees of the Funds are authorized to establish

guidelines and regulations for the collection of reasonable liquidated damages on

delinquent Contributions. (Firestone Decl. ¶ 11 and Ex. 1 thereto.) Under these

guidelines and procedures Defendant owes $7,574.27 in liquidated damages on

Contributions that were unpaid on the date Plaintiffs filed their Complaint.

(Compl. ¶¶ 13-14; Firestone Decl. ¶¶ 12-13 and Ex. 2 thereto.)

                                Procedural Posture

        Plaintiffs filed their Complaint against Defendant on August 11, 2021. (See,

generally, Compl.) On August 13, 2021, Plaintiffs’ process server served Defendant

by serving a copy of the Summons and Complaint upon Defendant’s registered

agent, Corporation Service Company, pursuant to O.C.G.A. §§ 9-11-4(e)(1) and 14-

11-209(f) and Fed. R. Civ. P. 4(e)(1) and 4(h)(1)(A). (See Proof of Service, filed

August 17, 2021 [Doc. 5].) Defendant failed to file an answer within the time

provided by law.



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        On September 8, 2021, Plaintiffs filed a Motion for Entry of Default. (See

[Doc. 7].) On September 9, 2021, the Clerk of the Court entered a default against

Defendant. (See September 9, 2021 minute entry.) On September 10, 2021,

Defendant filed its Motion to Set Aside Default. (See [Doc. 8].) As grounds for

seeking to vacate the entry of default, Defendant asserted that excusable neglect

existed, that it did not understand its obligation to respond to the Complaint, and

that it had a meritorious defense. (Id. ¶¶ 9-11.) Defendant further stated that it was

“prepared to deposit $40,000 into the registry of the Court while the Court and the

parties resolve the actual amount due from Defendant.” (Id. ¶ 12.) Plaintiffs

consented to Defendant’s Motion to Set Aside Default under the express condition

that, upon leave of Court, Defendant deposits $40,000 into the Court’s registry. (See

Pls.’ Resp. to Def.’s Mot. to Set Aside Default [Doc. 9].)

        On October 5, 2021, the Court entered an order granting Defendant’s Motion

to Set Aside the Default and setting aside Defendant’s default for good cause.

(Order [Doc. 10].) In its Order, the Court directed Defendant to deposit $40,000 into

the Court’s registry and to answer or otherwise respond to Plaintiffs’ Complaint

within 14 days of the entry of the Order (i.e., by October 19, 2021). (Id.at 4.) A

review of the online docket for this case does not reflect that Defendant has

answered or otherwise responded to the Complaint (and, indeed, Plaintiffs have



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received no answer or response) or deposited $40,000 into the Court’s registry.

(See generally Docket.)

        On November 8, 2021, Plaintiffs filed a Second Request to Clerk for Entry

of Default against Defendant pursuant to Fed. R. Civ. P. 55. [Doc. 11.] The Clerk

entered default against Defendant on November 29, 2021. (See November 29, 2021

minute entry.)

                          Argument and Citation of Authority

        A court may enter a default judgment where the factual allegations of the

plaintiff’s complaint, which are assumed to be true, provide a sufficient legal

basis for entry of a default judgment. J&J Sports Productions, Inc. v. Park, No. 1:12-

cv-2026-CC, 2013 WL 1320512, at *2 (N.D. Ga. Mar. 28, 2013) (citing Nishimatsu

Constr. Co. v. Hous. Nat’l Bank, 515 F.2d 1200, 1206 (5th Cir. 1975)). Where a party

“has sought judgment for affirmative relief from a party who has failed to plead

or otherwise defend and this fact appears by affidavit or otherwise, entry of

default judgment is appropriate.”       Id. (citing Mitchell v. Brown & Williamson

Tobacco Corp., 294 F.3d 1309, 1316 (11th Cir. 2002)). Here, as explained below, the

Funds’ well-pleaded allegations provide a sufficient legal basis for the entry of

default judgment.




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        A.   Plaintiffs are entitled to default judgment on all delinquent
             Contributions.

        Where an employer fails to make contributions to employee benefit plans

pursuant to a collective bargaining agreement, ERISA entitles the employee

benefit plans to a number of remedies from the delinquent employer, including

the recovery of unpaid contributions, liquidated damages, and reasonable

attorneys’ fees and expenses. See ERISA § 502(g)(2), 29 U.S.C. § 1132(g)(2).

        Plaintiffs’ Complaint properly states a claim for unpaid and untimely

Contributions under ERISA §§ 502 and 515.            Defendant assented to the

Agreement, which obligated Defendant to submit reports and make payments in

the form of required Contributions to the Funds. (Compl. at ¶¶ 9-10.) Following

an audit of Defendant’s records, the Funds determined that, for the period from

February 1, 2019, through December 31, 2019, Defendant underpaid its

Contributions, resulting in a principal amount owed of $75,742.66. (Id. at ¶ 12;

Firestone Decl. ¶¶ 7-9 and Ex. 2 thereto.) Defendant has thus breached its duties

and obligations to the Funds under ERISA § 515 and is liable for the delinquent

Contributions under ERISA § 502. 29 U.S.C. § 1132(g)(2) (“the court shall award

the plan…the unpaid contributions”) and § 1145 (an employer obligated to make

contributions pursuant to a collective bargaining agreement “shall…make such

contributions in accordance with the terms and conditions of such plan or


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agreement”). As of the date of this motion, Defendant owes Contributions to the

Funds in the amount of $75,742.66. (Compl. ¶ 1; Firestone Decl. ¶¶ 7, 9 and Ex. 2

thereto.) Therefore, Plaintiffs are entitled to a judgment against Defendant for the

delinquent Contributions and all ERISA damages flowing from Defendant’s

delinquency.

        B.      Defendant owes     statutory   damages     pursuant    to   ERISA
                § 502(g)(2)(C).

        The Funds are entitled to recover an amount equal to the greater of

(i) interest on the unpaid Contributions, or (ii) liquidated damages provided for

by the Funds’ plans in an amount not in excess of twenty percent (20%) of the

unpaid Contributions. (Compl. at ¶20); ERISA § 502(g)(2)(C); 29 U.S.C.

§ 1132(g)(2)(C). In this case, the Funds assessed liquidated damages equal to 10%

of the past due Contributions, as provided in the Agreement and the associated

guidelines and procedures governing employer contributions to the Funds in the

amount of $7,574.27, which is within the limits imposed by statute. (Firestone

Decl. ¶ 13.)1




1     Although the Funds are entitled to collect interest in addition to statutory
damages, they have elected not to do so and seek only the unpaid Contributions,
statutory late fee damages, and attorney’s fees.

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        C.    Defendant owes attorneys’ fees and expenses pursuant to ERISA
              § 502(g)(2)(D).

        Plaintiffs are entitled to their attorneys’ fees and expenses incurred in

bringing and prosecuting this action against Defendant. (Compl. at ¶ 21.) The

reasonable attorneys’ fees and expenses equal $6,328.23 through December 7,

2021. (Declaration of C. Knox Withers at ¶ 6.) Plaintiffs may incur additional

fees or expenses in prosecuting this case and reserve the right to submit to the

Court a declaration as to any such additional amounts.

                                    Conclusion

        The Complaint properly states a claim for unpaid and untimely

Contributions pursuant to ERISA §§ 502 and 515. Defendant owes Plaintiffs

$75,742.66 in unpaid Contributions, $7,574.27 in statutory damages, and

$6,328.23 in attorneys’ fees and expenses. For the foregoing reasons, Plaintiffs

respectfully request that the Court enter default judgment against Defendant in

the amount of $89,645.16. A proposed Order is attached for the Court’s

convenience.

                        [Signature appears on following page.]




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        January 7, 2022.            Respectfully Submitted,

                                    A RNALL G OLDEN G REGORY LLP

                                    /s/ C. Knox Withers
                                    C. Knox Withers
                                    Georgia Bar No. 142482

                                    Attorneys for Plaintiffs

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                                 Certificate of Service

        I certify that, on this date, I served Defendant with a copy of the foregoing

Memorandum of Law in Support of Plaintiffs’ Motion for Entry of Default

Judgment by electronic filing, which will cause a copy to be delivered to:

                           Howard P. Slomka
                           Howard Slomka P.C.
                           6400 Powers Ferry Road, N.W.
                           Suite 391
                           Atlanta, Georgia 30339

        January 7, 2022.

                                       A RNALL G OLDEN G REGORY LLP


                                       /s/ C. Knox Withers
                                       C. Knox Withers
                                       Georgia Bar No. 142482

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